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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

 UNITED STATES OF AMERICA           :
                                    :
       v.                           :              Case No. 1:21-CR-158-KBJ
                                    :
 KYLE FITZSIMONS,                   :
                                    :
       Defendant.                   :
____________________________________:

GOVERNMENT’S SUPPLEMENTAL MEMORANDUM IN SUPPORT OF PRETRIAL
                        DETENTION

       The United States of America, by and through its attorney, the United States Attorney for

the District of Columbia, respectfully submits this supplemental memorandum in support of

pretrial detention of the defendant, Kyle Fitzsimons, to address the Court’s inquiry as to whether

the government is appropriately arguing for the Defendant’s detention pursuant to 18 U.S.C. §

3142(f)(1)(A) [Crime of Violence]. The government previously addressed the underlying facts of

this case in the March 18, 2021 Memorandum in Support of Pretrial Detention and adopts those

facts for purposes of this supplemental memorandum. This pleading clarifies the government’s

position that the defendant is subject to detention pursuant to 18 U.S.C. § 3142(f)(1)(A) (Crime of

Violence) as a result of being indicted under 18 U.S.C. § 111(a)(1) and (b) for Assaulting,

Resisting, or Impeding Certain Officers causing bodily injury.

       As stated in the government’s previous filing, the defendant is charged with multiple counts

under 18 U.S.C. § 111(a)(1) and (b) for engaging two separate officers in hand-to-hand combat in

the Lower West Terrace tunnel at the U.S. Capitol during the course of the Capitol riots.

Specifically, defendant Fitzsimons grabbed Sergeant A.G.’s left shoulder and was trying to pull

Sergeant A.G. into the crowd. Sergeant A. G. slipped and fell while standing on three police shields
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that had been covered in pepper/mace spray. Sergeant A.G. had to strike Fitzsimons with a baton

several times to get free from Fitzsimons’ grip. After being struck by officers’ batons, Fitzsimons

got up and moved towards the middle of the archway; he lowered his shoulder and charged at the

line of officers. Fitzsimons grabbed Detective P.N.’s gas mask and pulled it to the side before

another individual behind Fitzsimons covered Detective P.N. in spray.

       The government concedes that 18 U.S.C. § 111(a) is not a crime a violence. That is

because 18 U.S.C. § 111(a) it does not require the use of violent force, that is “force capable of

causing physical pain or injury.” United States v. Fernandez, 37 F.2d 1031, 1033 (11th Cir.

1988). Decisions sustaining § 111 felony convictions confirm that fact; many involve the use of

force below that threshold. See, e.g., Id. (chasing prosecutor down the street and bumping into

him); United States v. Sommerstedt, 752 F.2d at 1495 (9th Cir. 1985) (walking up to prosecutor

and jolting her arm and shoulder); United States v. Hightower, 512 F.2d 60, 61 (5th Cir.1975)

(grabbing wildlife agent's jacket); United States v. Frizzi, 491 F.2d 1231, 1231–32 (1st Cir.1974)

(spitting in mail carrier's face). As this Court noted in its Order requesting briefing, this is

consistent with the position the government took in United States v. Lopatic (1:21-cr-00035-

EGS-3).

       In this case, however, the defendant is charged with two counts under 18 U.S.C. § 111(a)(1)

and (b) for Assaulting, Resisting or Impeding Certain Officers causing bodily injury. The

government’s position is that this enhanced version of the statute where defendants are also

charged under part (b), does qualify as a crime of violence. The question of whether 18 U.S.C. §

111(b), constitutes a crime of violence for purposes of § 924(c)(3), was addressed in United States

v. Taylor, 848 F.3d 476 (1st Cir. 2017). In Taylor, the First Circuit Court of Appeals specifically

found that § 111(b) was a “crime of violence” for purposes of § 924(c)(3), explaining that both




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enhanced versions of § 111 require the element of force. To qualify as a “crime of violence,” an

offense must include the “use, attempted use, or threatened use” of “force capable of causing

physical pain or injury to another person.” Johnson v. United States, 559 U.S. 133, 140 (2010).

       Noting that they were not writing “on a clean slate,” in determining that § 111(b) is a crime

of violence, the Court in Taylor emphasized that “every court we are aware of that has considered

the issue has found that it is because the elements of the enhanced offense require the use,

attempted use, or threatened use of force capable of causing pain or injury.” Taylor, at 492-93,

citing United States v. Rafidi, 829 F.3d 437, 445–46 (6th Cir. 2016); United States v. Hernandez–

Hernandez, 817 F.3d 207, 215 (5th Cir. 2016) (decided under Sentencing Guidelines § 2L1.2);

United States v. Green, 543 Fed.Appx. 266, 272 (3d Cir. 2013) (decided under Sentencing

Guidelines § 4B1.1); United States v. Juvenile Female, 566 F.3d 943, 948 (9th Cir. 2009) (decided

under 18 U.S.C. § 16).

       Subsequent to the decision in Taylor, additional circuit courts have found that § 111(b) is

a “crime of violence.” See Gray v. United States, 980 F. 3d 264 (2nd Cir. 2020) (The question

presented is whether assaulting a federal officer under 18 U.S.C. § 111(b) is categorically a “crime

of violence.” We join six other courts of appeals in holding that it is.”); United States v. Bullock,

970 F.3d 210 (3d Cir. 2020) (§ 111(b) is a crime of violence under the modified categorical

approach); United States v. Bates, 960 F.3d 1278 (11th Cir. 2020) (“§ 111(b) categorically

qualifies as a crime of violence under 924(c)’s elements clause.”); United States v. Kendall, 876

F.3d 1264 (10th Cir. 2017) (§ 111(b) constitutes a crime if violence). Specifically, the court in

Gray held that because both acts in § 111(b) – use of a deadly or dangerous weapon and infliction

of bodily injury – entail physical force as required under Johnson and § 924(c)(3)(A), that an

offense under § 111(b) is a categorical crime of violence. Gray v. United States, 980 F.3d 264




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(2nd. Cir. 2020). Moreover, in Kendall the court stated “to determine if every violation of § 111(b)

is a crime of violence, then, we need only determine whether both an assault that causes bodily

injury and an assault with a deadly weapon involve the use, threatened use, or attempted use of

violent physical force. They both do.” United States v. Kendall, 876 F.3d 1264 (10th Cir. 2017)

       Here, as stated above, the defendant is charged with using actual physical force on two

separate officers deployed to the lower west terrace tunnel at the U.S. Capitol during the Capitol

riots. Although the threshold showing only requires the threatened or attempted use of physical

force, here the defendant used actual physical force causing bodily injury to two separate officers.

While the D.C. Circuit has not addressed the specific question of whether § 111(b) is a “crime of

violence”, undersigned counsel is not aware of any court that has concluded otherwise. As a result,

the government respectfully submits that the defendant’s misconduct charged pursuant to 18

U.S.C. § 111(b) is properly categorized as a crime of violence under 18 U.S.C. § 3142(f)(1)(A)

and therefore supports the government’s continued hold request.



                                       Respectfully submitted,

                                       CHANNING D. PHILLIPS
                                       ACTING UNITED STATES ATTORNEY


                                       /s/ Puja Bhatia
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                                  CERTIFICATE OF SERVICE

       I certify that a copy of the Government’s Memorandum in Support of Pretrial Detention

was served on counsel of record via the Court’s electronic filing service.




                                             /s/ Puja Bhatia
                                             PUJA BHATIA
                                             Assistant United States Attorney


Date: April 6, 2021




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